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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
_______________________________________

ANGELA SHELTON,
on behalf of plaintiff and a class,

                               Plaintiff

v.                                                       Civil No. 1:17-cv-00808-ENV-LB

CIOX HEALTH, LLC,

                        Defendant.
_______________________________________

                  CIOX’S RULE 7.1 DISCLOSURE STATEMENT


               Pursuant to Federal Rule of Civil Procedure 7.1, defendant CIOX Health, LLC

(“CIOX”) makes the following disclosure: CIOX is a non-governmental, Georgia limited

liability company. Smart Holdings Corp., a Delaware corporation, is CIOX’s sole member.


Dated: New York, New York
       July 10, 2017
                                           HODGSON RUSS LLP
                                           Attorneys for Defendant CIOX Health, LLC


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                                       CERTIFICATE OF SERVICE

                      I hereby certify that on July 10, 2017, I served CIOX’s Rule 7.1 Disclosure

Statement, by ECF, on the following:


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                                                    _______s/Erin N. Teske_____
                                                            Erin N. Teske




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